             Case 6:18-bk-02860-ABB         Doc 14     Filed 06/13/18    Page 1 of 1



                           UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
In Re:
         LaTonya McCray                                      Case No. 6:18-bk-02860
                     Debtor/s.
                ____________ /

           NOTICE OF LIMITED APPEARANCE OF ADDITIONAL COUNSEL
                AND RULE 2030 STATEMENT OF COMPENSATION

       COMES NOW, Alejandro Rivera , attorney of record for the Debtor/s, and files this
Notice of Limited Appearance of Additional Counsel of ISABEL E. FREEMAN (FBN 760481)
who will be assisting your undersigned for the sole purpose of attending the following:

__X_ 1. Meeting of Creditors and Equity Security Holders mandated by 11 U.S.C Section 341;

_____2. Confirmation Hearing scheduled for _________________________;

_____3. Hearing scheduled for ________________________________.

and said counsel does consent to serve in such capacity.

       In compliance with Federal Rules of Bankruptcy Procedure 2030, additional counsel has
been, or will be paid ( X) $65.00 ( ) $125.00 ( ) $______ for said services.

         All correspondence and pleadings should continue to be served to the attorney of record.

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Appearance
was electronically mailed this 12th day of June, 2018 to the appointed Standing Trustee in this
case and the United States Trustee at 400 W. Washington Street, Suite 1100, Orlando, Florida
32801.
                                                     /s/Alejandro Rivera_________________
                                                     n Alejandro Rivera, Esq.
                                                     FBN 90038
                                                     o Jessica L. Fellows, Esq.
                                                     FBN 112477
                                                     ALEJANDRO RIVERA P.A.
                                                     A Law Firm
                                                     1400 W. Oak St. #F
                                                     Kissimmee, FL. 34741
                                                     Ofc. 407 518-7160
                                                     Fax. 407 518-7678
                                                     Email. Rivera@RiveraAt Law.com
                                                     ATTORNEY FOR DEBTOR
